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                  UNITED STATES DISTRICT COURT
                        District of Minnesota
United States of America,                   JUDGMENT IN A CRIMINAL CASE

                     Plaintiff(s),
v.                                                 Case No: 12-CR-26 JRT-JSM-1
                                                            22-CV-2955-JRT
Wakinyan Wakan McArthur,

                     Defendant(s).


☒      Decision by Court. This action came to trial or hearing before the Court. The issues have
       been tried or heard and a decision has been rendered.


       IT IS ORDERED THAT:
       1. Defendant’s Motion to Supplement the § 2255 Motion [Docket No. 2383] is
       GRANTED;

       2. Defendant’s Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence
       [Docket No. 2252] is DENIED as moot;

       3. Defendant’s Amended Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside, or
       Correct Sentence [Docket No. 2255] is DENIED;

       4. The Court does NOT certify for appeal under 28 U.S.C. § 2253(c) the issues raised in
       Defendant’s Motion; and

       5. Defendant’s Motion to Strike Government’s Response [Docket No. 2325] is DENIED
       as moot.

Date: September 6, 2024                            Kate M. Fogarty, Clerk
